                                    Case 1:06-cv-01086-MHS Document 1-1 Filed 05/05/06 Page 1 of 1
OW544 (Rev . I 1,'U4)                                                         CIVIL COVER SHEET 3                                                              06
The IS 44 civil cover sheet and the information contained herein neither replace nor supplement the fil ing and service ofpleadings or other papers as requVd by law,
                                                                                                                                                                                 C
    IUCiI rules of court. This form, approved by the Judicial Conference ofthe United . ates in September 1974, is required fo r the use of the Clerk of Court for the E
th e civil docket sheet . (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM)                                                                                             r

[. (a)       PL AINT IFFS                                                                                          DEFENDANTS



   (b)      County of Residence of First Listed Plaintiff   r "`                                                   County of Residence of First Listed Defendant
                               (EXCEPT IN U .S . PLAINTIFF CASES)                                                                                  (IN U . S. PLAINTIFF CASES ONLY)
                                                                                                                           NOTE : INLAND CONDEMNATION CASES, USE T HE LOCATION OF THE
                                                                                                                                  LAND INVOLVED .


   (C) Attorney's (Fi rm Fame, Address, an d Tel ephone Number)                                                     Attorneys (I f Known)




II . BASIS OF J URISDICTION                          (Pace an "x- in One Sax Only)                   III. CITIZENSHIP O F PRINCIPAL PART] E S(Place an "X" in                      One Box for Plaintiff
                                                                                                               (For Diversity Cases Only)                   an d One Box for Defendant)
0 1 U .S. Government                     CM 3 Federal Question                                                                         P'fi~'I D E F/                                PTF DEF
        Plaintiff                               (U . S . Government Not a Party)                         Ci tize n of Th is St ate    ~        d'1 Incorporated or Principal Place L7 4        Q 4
                                                                                                                                                      of Business In This Stale

O 2 U .S. Government                     1 4 Diversity                                                   Citizen of Another Slate            f7l 2 0 2 Incorporated and Principal Place                171   5   0 5
        Defendant                                                                                                                                            of Business In Another State
                                                 (Indi c a te Citizenship of Parties in Item ll[)

                                                                                                         Citizen or Subject of a             Q 3      O   3    Foreign Nation                   0       6        O 6




O 110 Insurance                        PERSON AL I NJU RY                  PERSONAL INJURY               D 6l0 Agriculture                      0 422 Appeal 28 USC 159              CI 400 State Reappor tionment
0 120 Marine                        71 310 Airplane                     Q 362Yerspnalinjury -             0 620 ether Food & Drug               CI 423 W ithdrawal                   CI 4 10 Mlitrust
0 130 Mill., Act                    0 315 Airplane Product                    Med. Malpractice            Q 62 5 Drug Related Seizure                 28 USC 157                     C 7 430 Banks and Banking
0 140 Negotiable Instrument                Liabi l ity                  0 365 Personal Injury -                  of Property 2 1 US C 881                                            O 45 0 Commerce
73 150 Recovery pfpverpayment       O 320 Assaul t, Libe l &                  Product Liability           O 630 Li quo r Law s                                                       0 460 Deportation
        & Enforcement ofJudgtneni          Slander                      Q 368 Asbestos Personal           Ca 64 0 R . R. & Truck                O 820 Copyrights                     0 470 Racketeer Influenced and
7) 151 Medicare Act                 O 330 Federal Em ploye rs'                Injury Product              Q 650 Airline Regs .                  C1 930 Patent                               Corrupt Organizations
D 152 Recovery o f Defaulted               L iabi lity                        Liability                   ~ 660 Occupational                    O 840 Trademark                      C)  480 Consumer Credit
        Student Loan s              L7 340 Marine                        PERSONAL PROPERTY                       Safety/Health                                                       [)  490 CablelSat TV
        (Excl. Veterans)           L7 345 Marine Product                C] 370 Other Fraud               L7 690 Other                                                                Q   810 Selec tiv e Serv ice
0 153 Recovery of Overpayment              Liability                    D 371 Truth in Lending                                                                                       O   850 Securities/Commodities/
         o f Veteran's Benefits    O 35D Motor Vehicle                  0 380 Other Personal             1.7    7I0 Fair Labor SLandards        O 861 HIA (139 5 tf)                        Exch ange
C I 16 0 Stockholders' Suits        L7 355 Motor Vehicle                       Property Damage                     Act                          0 $62 Black Lung (923 )              171 875 Customer Challenge
0 190 Other Contract                       Product Liability            Cl 385 Property Damage           Q      720 LaborlMgmt. Rel ations      Q 863 DIWC/DIWW (405(g))                      12 USC 341 0
O 19 5 Contract Product Liabili ty ~ 360 Other Personal                        Product Liability         O      730 Labor/Mgml,Reporring        0 864 SSID Title XVI                 0 890 Oth er S tatutory Actions
0 196 Franchise                                                                                                    & Disc los ure Act           1865 R SI (405 (c11                  Q 891 Agricultural Acts
                                                                                                         0     740 R ai l way Labor Act                                              M    892 Economic Stabilization Act
L7 210   Land Condemnation           El 441 Voting                          510 Motions to Vacate        CI     790 Other Labor Litigation      L7 870 Taxes (U .S . Plaintiff       C3   893 Environmental Matters
0 220    Foreclosure                 Qo"4Q Employment                           Sentence                 Q      791 Empl, Ret . Inc .                 or Defendant)                  0    894 Energy Allocation Act
O 230     Rent Lease & Ejxtmrnt      1 443 Housing/                         Hebe.s Co rpus :                        Security Act                0 871 IRS-Third Party                CI   895 Freedom ofInfoumatio.
O 240    Torts to Land                       Accommodations                  530 General                                                              26 USC 7609                            Act
D 245    Tort Product Liability      O   4,14 Welfare                       535 Death Penalty                                                                                        0 900Appeal of Fee Detemimat ion
1290     .9 1 Other Real Property    0   445 Amer. w /Disab iliUe s         540 Mandam us & Other                                                                                           Under Equal Ac ce ss
                                             Emp loyment                    550 Civil Rights                                                                                                to Ju stice
                                     Q4,16 Amer . wlDisabilities-           555 Prison Condition                                                                                     [.l 950 Constit utionality o f
                                             Other                                                                                                                                          State Statutes
                                         440 Other Civil R ights


V . 9RIG IN                   (Place an "X" in One Box Only)                                                                                                                                        Appeal to d i s trict
                                                                                                                                 Transferred from                                                   Judge from
          Orig inal        173 2 Removed from               ~ 3       Remanded from                 Q 4 Reinstated or       ~ 5 another district               ~ 6 Multidistrict Q 7                Magistrate

                                           Cite the U .S . Civil Statute under which you are filing ( Do not cit e juri sd ic tional statutes unless di versity):

VI . CAUSE OF ACTION [Brief description of cause :


VII . REQU E S T E D I N C3 CHECK IF THIS IS A CLASS ACTION                                                    DEMANDS ` CHECK YES on ly i f dema nd i n complaint :
      COMPLAINT:             UND ER F .R.C .P . 23                                                                    ,~ 6 /~y~ , l/ cl nv JURY DEMAND: ~ Q No

VIII. RELATED C A S E( S )                    (See instructions):
          IF ANY                                                       JUDGE                                                                        DO CKET N UMBER

DATE                                                                        SIGNATURE OF AT T ORNE OF RF,

                                                                                                        ~~
   RECEIPT !1             AMOUN T                                             APPLYIN G             IFP              JUDGE                                             MAG JUDGE




                                                                                                                                                   - -9f             ~
                                                                                                                                                                                           LA
